                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    BECKLEY DIVISION


VIVEK SHAH,

                              Petitioner,

v.                                                  CIVIL ACTION NO. 5:15-cv-7542
                                                    (Criminal Nos. 5:12-cr-172 & 5:13-cr-127)

UNITED STATES OF AMERICA,

                              Respondent.



                         MEMORANDUM OPINION AND ORDER


       On June 10, 2015, the Petitioner, acting pro se, filed a Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside or Correct Sentence by a Person in Federal Custody (Documents 105-1 & 109).

       By Standing Order (Document 118) entered on July 13, 2015, this matter was referred to

the Honorable R. Clarke VanDervort, United States Magistrate Judge, for submission to this Court

of proposed findings of fact and recommendation for disposition, pursuant to 28 U.S.C. § 636.

Subsequently, by Order (Document 127) entered on January 6, 2016, the case was referred to the

Honorable Omar J. Aboulhosn, United States Magistrate Judge, for submission of proposed

findings of fact and recommendation for disposition.

       On October 19, 2016, Magistrate Judge Aboulhosn submitted a Proposed Findings and

Recommendation (Document 144) wherein it is recommended that this Court: 1) deny the

Petitioner’s Application to Proceed Without Prepayment of Fees or Costs (Documents 105-8 &

116); 2) deny the Petitioner s Motion Under Section 2255 to Vacate, Set Aside, or Correct Sentence
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by a Person in Federal Custody (Documents 105-1 & 109); 3) deny the Petitioner’s Motions to

Invalidate Plea Agreement (Documents 120 & 128); 4) deny the Petitioner’s Motion for Summary

Judgment (Document 122); and 5) remove this matter from the Court’s docket unless the Petitioner

can demonstrate, within the period of time allotted for objecting to the Proposed Findings and

Recommendation, that the Petitioner’s Motion was filed within the proper time period or that

circumstances exist which would permit equitable tolling of the limitation period. Objections to

the Magistrate Judge=s Proposed Findings and Recommendation were due by November 7, 2016.

       Neither party has timely filed objections to the Magistrate Judge=s Proposed Findings and

Recommendation. The Court is not required to review, under a de novo or any other standard, the

factual or legal conclusions of the magistrate judge as to those portions of the findings or

recommendation to which no objections are addressed. Thomas v. Arn, 474 U.S. 140, 150 (1985).

Failure to file timely objections constitutes a waiver of de novo review and the Petitioner=s right to

appeal this Court=s Order. 28 U.S.C. ' 636(b)(1); see also Snyder v. Ridenour, 889 F.2d 1363,

1366 (4th Cir. 1989); United States v. Schronce, 727 F.2d 91, 94 (4th Cir. 1984).

       Accordingly, the Court ADOPTS and incorporates herein the findings and

recommendation of the Magistrate Judge as contained in the Proposed Findings and

Recommendation. The Court FINDS that the Petitioner has failed to demonstrate, within the

period of time allotted for objecting to the Proposed Findings and Recommendation, that the

Petitioner’s Motion was filed within the proper time period or that circumstances exist which

would permit equitable tolling of the limitation period. Additionally, the Court ORDERS that: 1)

the Petitioner’s Application to Proceed Without Prepayment of Fees or Costs (Documents 105-8

& 116) be DENIED; the Petitioner s Motion Under Section 2255 to Vacate, Set Aside, or Correct


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Sentence by a Person in Federal Custody (Documents 105-1 & 109) be DENIED; the Petitioner’s

Motions to Invalidate Plea Agreement (Documents 120 & 128) be DENIED; the Petitioner’s

Motion for Summary Judgment (Document 122) be DENIED; and this matter be REMOVED

from the Court’s docket.

       The Court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Aboulhosn, counsel of record, and any unrepresented party.

                                           ENTER:            November 14, 2016




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